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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND


  STATE OF NEW YORK, et al.,

                 Plaintiffs,

         v.
                                                          C.A. No. 1:25-cv-00039
  DONALD TRUMP, IN HIS OFFICIAL CAPACITY
  AS PRESIDENT OF THE UNITED STATES, et al.,

                 Defendants.



 RENEWED SECOND MOTION TO ENFORCE THE COURT’S ORDERS PERTAINING
                    TO FREEZE OF FEMA FUNDS
        Plaintiff States, through this motion, respectfully request that the Court use its inherent

 authority to enforce the Preliminary Injunction Order entered on March 6, 2025. Plaintiff States

 specifically request that the Court order Defendant the Federal Emergency Management Agency

 (“FEMA”) to cease freezing obligated funds and that the Court direct that notice of such order,

 along with notice of the court’s March 6, 2025 Order, be provided to FEMA’s leadership and staff,

 as described below.

        The Court’s intervention is necessary because, following the Court’s March 6 order,

 Plaintiff States have continued to experience significant obstacles to accessing federal funds. This

 is so despite the Court’s direction to Defendants to “file a status report on or before March 14,

 2025, informing the Court of the status of their compliance with” the March 6 Order. ECF No.

 161, at 45. The parties remain at an impasse as to millions of dollars in obligated FEMA awards,

 which are and have remained frozen dating to as early as February 7. Plaintiff States will need to

 wind down important programmatic emergency services, including disaster relief to people and

 communities affected by the Maui wildfires, in short order if funding is not immediately unfrozen.

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 Speer Decl. ¶ 18, attached as Exhibit 1. The Court should enforce its March 6 preliminary

 injunction with respect to FEMA.

                                   FACTUAL BACKGROUND

     I.      The Court’s Orders

          The Court’s January 31, 2025, TRO prohibited Defendants from “paus[ing], freez[ing],

 imped[ing], block[ing], cancel[ling], or terminat[ing] Defendants’ compliance with awards and

 obligations to provide federal financial assistance to the States,” and provided that “Defendants

 shall not impede the States’ access to such awards and obligations, except on the basis of the

 applicable authorizing statutes, regulations, and terms.” ECF No. 50, at 11. That order expressly

 prohibited the Defendants from using “‘identif[ication] and review’ of federal financial assistance

 programs” to implement a “pause, freeze, impediment, block, cancellation, or termination of

 Defendants’ compliance with such awards and obligations, except on the basis of the applicable

 authorizing statutes, regulations and terms.” Id. at 12. Included among the Defendants for purposes

 of the TRO was FEMA, a defendant named in the original Complaint. ECF No. 1, ¶ 41. 1

          Following the entry of that order, counsel for Plaintiff States conferred with counsel for

 Defendants about ongoing freezes of numerous grants and awards, but were unable to reach

 agreement. ECF No. 66, at 7–8. Plaintiff States moved to enforce the TRO on February 7, 2025.

 ECF No. 66. On February 10, 2025, the Court granted that motion, ordering among other things

 that:

          1.     The Defendants must immediately restore frozen funding during the
          pendency of the TRO until the Court hears and decides the Preliminary Injunction
          request.


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  FEMA remains a defendant in the First Amended Complaint because the Department of
 Homeland Security is a defendant, and FEMA is an agency within the Department of Homeland
 Security. ECF No. 114, ¶ 55.
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        2.     The Defendants must immediately end any federal funding pause during
        the pendency of the TRO.
        3.     The Defendants must immediately take every step necessary to effectuate
        the TRO, including clearing any administrative, operational, or technical hurdles
        to implementation.
 ECF No. 96, at 4.
        The Court subsequently issued an order affirming that the TRO “permits the Defendants to

 limit access to federal funds ‘on the basis of the applicable authorizing statutes, regulations, and

 terms’” and clarifying that neither the TRO nor the February 10 order instituted a “preclearance”

 or “prior approval” requirement. ECF No. 107, at 3.

        Plaintiff States continued to experience disruptions in federal funding, one of which was

 particularly acute and widespread—the funding freeze implemented by FEMA, which has

 impacted many public safety programs. Therefore, on February 28, Plaintiff States filed a Second

 Motion to Enforce based on continued inability to access these important funds. ECF No. 160.

        On March 6, the Court issued its preliminary injunction order. ECF No. 161. In relevant

 part, the Court enjoined Defendants, including FEMA, “from pausing, freezing, blocking,

 canceling, suspending, terminating, or otherwise impeding the disbursement of appropriated

 federal funds to the States under awarded grants, executed contracts, or other executed financial

 obligations based on the OMB Directive, . . . or any other materially similar order, memorandum,

 directive, policy, or practice under which the federal government imposes or applies a categorical

 pause or freeze of funding appropriated by Congress.” ECF No. 161, at 44. At the same time, the

 Court recognized that the Second Motion to Enforce was mooted by the decision on the

 preliminary injunction, but nevertheless ordered FEMA to submit a status report by March 14.

 ECF No. 161, at 45.




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    II.      FEMA Grants and Awards Remain Frozen, Endangering Important State
             Disaster Relief Programs

          The issues raised in Plaintiff States’ Second Motion to Enforce continue largely unabated.

 As Plaintiff States reported on March 17, “[a]s of March 12, 2025, at least 215 FEMA grants to at

 least nineteen plaintiff states remain frozen or otherwise rendered inaccessible.” ECF No. 167, at

 2. Now, approaching the close of the quarter, lack of access to funding is poised to disrupt

 programs.

          For Hawai‘i, this means the imminent cessation of case management services for victims

 of the 2023 Maui wildfires, “including the wildfire-initiated urban conflagration that caused

 extreme damage to the historic town of Lahaina, killed over 100 people and displaced thousands

 of Hawaiʻi residents from their homes.” Speer Decl. ¶ 3. Before FEMA initiated its categorical,

 indefinite pause of funding, Hawai‘i usually received reimbursement within approximately one

 week of submitting a request, a time period that allowed for FEMA’s review and the mechanics of

 the fund transfer. Id. ¶ 13. As of today, Hawai‘i has waited nearly 30 days for reimbursement. Id.

 ¶ 12. This abrupt change in practice is near fatal because a key requirement of FEMA regarding

 these grant funds is that Hawaiʻi is precluded from maintaining more than three business days’

 worth of cash on hand. Id. ¶ 18. If Hawai‘i does not receive reimbursement by March 31, it will

 be forced to discontinue its “work with survivors to create unique disaster recovery plans that are

 individualized to each household, and . . . help survivors navigate their recovery and work with

 the myriad of resources available to meet their needs.” Id. ¶¶ 6, 18. Hawai‘i currently provides

 these services to more than 4,000 individual wildfire survivors, but that work will cease as of April

 4 if funds are not released. Id. ¶¶ 6, 8, 18. Hawai‘i has raised these serious issues with its

 counterpart grant administrators at FEMA. Id. ¶¶ 16, 18. Despite seeking reassurance or guidance




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 from FEMA, “there is no known timeline for when FEMA or the federal Department of Homeland

 Security will determine if, or when, it will approve” Hawai‘i’s pending funding requests. Id. ¶ 16.

         Oregon is waiting on $129.4 million in federal funds and has not received payment on any

 of its FEMA requests for more than 30 days. McMahon Decl. ¶ 20, attached as Exhibit 2. Most of

 Oregon’s grants are granted on to subrecipients such as local and tribal governments, id., which

 are facing issues with timely reimbursement, id. ¶ 21. Oregon’s Emergency Management

 Performance Grant coordinates local, state, and interstate resources to address life-safety needs

 through funding projects like auxiliary communications systems and joint training exercises. Id.

 ¶ 23. After the close of the first quarter on March 31, Oregon’s emergency management agency

 will not have the funds to continue supporting these activities, including staff salaries, without

 FEMA reimbursement. Id. ¶ 22.

         Colorado has experienced very similar disruption. From February 18 to March 24

 Colorado’s emergency management agency has requested or attempted to request over $33 million

 in reimbursement costs from FEMA under 14 grant programs. Haney Decl. ¶ 6, attached as Exhibit

 3. None of the requests have been approved. Id. Many of Colorado’s requests for payment were

 made more than 30 days ago. Id. ¶¶ 7–20. Colorado’s grants fund flood hazard mitigation and the

 development of local hazard mitigation plans, among other important emergency preparedness

 goals. Id.

         In their status report filed on March 14, Defendants asserted that this indefinite pause on

 obligated federal grant monies is not in violation of this Court’s orders, including the preliminary

 injunction. ECF No. 166. That is, instead of taking this Court’s order to provide a status report as

 an opportunity to inform the States of when they might expect an end to this widespread

 inaccessibility of funding administered by FEMA, Defendants provided no definite date by which



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 such pause might cease. Id. As described in Plaintiff States’ Response, ECF No. 167, at 6–8, and

 further below, Defendants are wrong in their contention that statute or regulation authorizes them

 to withhold funding for 30 days for any purported “manual review” process. But regardless of the

 legal merit of that contention (there is none), as a factual matter, multiple states have funding

 requests that have been pending for longer than 30 days. McMahon Decl. ¶ 20; Haney Decl. ¶¶ 7–

 20; Rice Decl. ¶¶ 5–7, attached as Exhibit 4.

        In addition, among Defendants’ other arguments, they have asserted that the FEMA manual

 review process is “not new,” implying some history of or relation to past manual review processes.

 ECF No. 166, at 3. But their own statements belie that claim: on March 18, FEMA asserted to

 Colorado that it would, “effective immediately” institute “an additional review process of

 allocations before releasing funds for all grants.” Rice Decl. Ex. A. This was followed on March

 19 with an announcement by FEMA of “additional reviews on all grant payments and obligations

 to ensure allowability in accordance with 2 C.F.R. § 200.305.” Rice Decl. Ex. B. None of this

 correspondence to recipients referenced any prior manual review or linked the newly applicable

 procedures to any past procedure. Rice Decl. Exs. A–B.

                                       LEGAL STANDARD

        Courts may issue further orders to obtain “compliance with a court order.” United States v.

 Saccoccia, 433 F.3d 19, 27 (1st Cir. 2005) (citing McComb v. Jacksonville Paper Co., 336 U.S.

 187, 191 (1949)). In the First Circuit, a party seeking such an order must show: (1) notice of the

 court order; (2) clarity and lack of ambiguity of the order; (3) ability to comply; and (4) violation

 of the order. Letourneau v. Aul, No. CV 14-421JJM, 2024 WL 1364340, at *2 (D.R.I. Apr. 1, 2024)

 (citing Hawkins v. Dep’t of Health & Hum. Servs., 665 F.3d 25, 31 (1st Cir. 2012)).




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                                             ARGUMENT

         Plaintiffs have satisfied the first two factors: FEMA had notice of the Court’s order, and

 the Court has made numerous pronouncements about the scope and effect of its Orders. Similarly,

 the third factor is satisfied because FEMA is plainly able to comply with the preliminary injunction

 by lifting its pause on funding to Plaintiff States.

         As to the fourth factor, FEMA appears to be violating the preliminary injunction. To

 reiterate, the preliminary injunction prohibits FEMA “from pausing, freezing, blocking, canceling,

 suspending, terminating, or otherwise impeding the disbursement of appropriated federal funds to

 the States under awarded grants” if that action is “based on the OMB Directive, . . . or any other

 materially similar order, memorandum, directive, policy, or practice under which the federal

 government imposes or applies a categorical pause or freeze of funding appropriated by Congress.”

 ECF No. 161, at 44.

         As explained in Plaintiff States’ March 17, 2025 Response to Defendants’ Status Report,

 FEMA’s categorical and indefinite freeze of funding appears to be violating the preliminary

 injunction for at least four reasons. See ECF No. 167, at 6–8.

         First, FEMA’s own statements to this Court have characterized Plaintiff States’ inability to

 access funds as a “hold” or a “pause.” Specifically, defendants’ submissions state that FEMA “has

 paused” funding to entire programs, ECF No. 166-1 (Hamilton Decl.), ¶ 3, has put “hold toggles”

 on these programs in FEMA’s payment system, id. ¶ 4, and has put “financial holds” on these

 awards, id. ¶ 4. Moreover, a memorandum issued on February 14, 2025 quite plainly calls for a

 “Hold of Funds” under some FEMA grants, ECF No. 166-7, at 2.

         Second, regardless of whether a delay of limited duration would violate the Court’s orders,

 the sweeping, indiscriminate, and indefinite pause implemented by FEMA under the guise of a



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 purported “manual review” process is essentially the same funding pause pending purported

 review of grant programs that OMB directed each agency to carry out, and which this court

 enjoined. See ECF No. 1 (Compl.), Ex. B. After OMB called for agencies to freeze funding

 disbursements, it provided a spreadsheet of funding streams to review before payments could be

 authorized. Id. Here, similarly, FEMA has frozen federal funding disbursements en masse while it

 purports to review funding streams to find irregularities it has not identified or review grant

 recipients’ compliance with obligations it has not specified.

        Third, FEMA errs in arguing that a 30-day payment window that appears in 2 C.F.R. §

 200.305(b)(3) demonstrates that payments are not paused. See, e.g., Hamilton Decl. ¶ 20; ECF No.

 166-5 (Email from Stacey Street, Feb. 11, 2025) (stating that FEMA “will have 30 days to process

 payment”). As an initial matter, that deadline is plainly inapplicable to disbursements to States. 2

 C.F.R. § 200.305(b)(3); see 31 C.F.R. § 205.33(a) (requiring fund transfers to States to be “as close

 as is administratively feasible to a State’s actual cash outlay”). In any event, for many States,

 FEMA has been continuing to refuse to release requested funds for more than thirty days. Thus,

 even if 31 C.F.R. Part 205 Subpart B controlled here—which it does not—FEMA has exceeded

 the timeframe contemplated by those regulations. FEMA’s failure to abide by the (inapplicable)

 30-day window that it invoked further demonstrates that its actions are an indefinite pause of

 funding in violation of the Court’s preliminary injunction.

        Indeed, after FEMA filed its status report, the agency has started claiming that it is entitled

 to multiple 30-day review periods that have no set end, all while obligated funding remains paused.

 In particular, on March 19, 2025, FEMA wrote to Plaintiff States that it is entitled to a series of

 30-day reviews, relying on the same authorities discussed above. Rice Decl. Ex. B. FEMA has

 now asserted that it may deny a request for reimbursement “[i]f an adequate response is not



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 received” to its informational demands, in which case Plaintiff States “may need to submit a new

 reimbursement request; this will re-start the 30-day timeline.” Id. There is no basis, even in the

 inapplicable 2 C.F.R. § 200.305(b)(3) regulation, for a series of rolling 30-day windows for

 approval of reimbursement requests. FEMA’s actions essentially extend indefinitely a categorical

 pause on all grant funding it administers based on unarticulated criteria that are not based in any

 statute or regulation.

         Fourth, FEMA identified no other legal basis in its status report for its withholding of funds

 with no end date, invoking only “inherent authority” that it is not granted under statute, citing 2

 C.F.R. § 200.300(a). See ECF No. 166, at 2; Hamilton Decl. ¶ 5. That regulation provides no basis

 for the funding pause that FEMA has placed in effect. Rather, 2 C.F.R. § 200.300(a) is a regulation

 promulgated by the Office of Management and Budget for federal grants generally, and it simply

 provides that federal agencies must administer federal awards to ensure that programs are

 implemented “in full accordance with the U.S. Constitution, applicable Federal statutes and

 regulations.” 2 C.F.R. Part 200 specifies the mechanisms that federal agencies may use to manage

 performance and ensure appropriate controls, including Subpart D (Post Federal Award

 Requirements) and Subpart F (Audit Requirements). See especially 2 C.F.R. §§ 200.339(a)

 (specifying the circumstances when grantor agencies may temporarily withhold payments for

 noncompliance), 200.501 (grantee audit requirements). The general duties of § 200.300(a) do not

 add to these mechanisms and provide no authority to implement a freeze with no set end date.

         FEMA may not, consistent with the preliminary injunction, subject Plaintiff States to a

 pause without end to conduct a new process that is not authorized by law or regulation. FEMA’s

 current actions mean that at minimum five States have now been unable to access funds for more

 than 30 days, with states such as Hawai‘i now poised to discontinue critical programming.



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                                          RELIEF SOUGHT

          Plaintiff States move the Court, under its inherent powers, to order FEMA to immediately

  halt the challenged practice and to direct that notice of such order, along with notice of the court’s

  preliminary injunction, or any forthcoming orders the Court deems relevant, be provided to

  FEMA’s leadership, as well as all FEMA staff who administer these grants and other federal

  financial assistance, with confirmation of such notice, including the names of recipients of the

  notice, no later than 48 hours after such order.



  Dated: March 24, 2025                                   Respectfully Submitted,

PETER F. NERONHA                                      LETITIA JAMES
Attorney General for the State of Rhode Island        Attorney General for the State of New York

By: /s/ Kathryn M. Sabatini                           By: /s/ Rabia Muqaddam
Kathryn M. Sabatini (RI Bar No. 8486)                 Rabia Muqaddam*
Civil Division Chief                                  Special Counsel for Federal Initiatives
Special Assistant Attorney General                    Michael J. Myers*
Sarah W. Rice (RI Bar No. 10465)                      Senior Counsel
Deputy Chief, Public Protection Bureau                Molly Thomas-Jensen*
Assistant Attorney General                            Special Counsel
Leonard Giarrano IV (RI Bar No. 10731)                Colleen Faherty*
Special Assistant Attorney General                    Special Trial Counsel
150 South Main Street                                 Zoe Levine*
Providence, RI 02903                                  Special Counsel for Immigrant Justice
(401) 274-4400, Ext. 2054                             28 Liberty St.
ksabatini@riag.ri.gov                                 New York, NY 10005
srice@riag.ri.gov                                     (929) 638-0447
lgiarrano@riag.ri.gov                                 rabia.muqaddam@ag.ny.gov
                                                      michael.myers@ag.ny.gov
                                                      Molly.Thomas-Jensen@ag.ny.gov
                                                      colleen.Faherty@ag.ny.gov
                                                      zoe.Levine@ag.ny.gov

ROB BONTA                                             KWAME RAOUL
Attorney General for the State of California          Attorney General for the State of Illinois

By: /s/ Laura L. Faer
Laura L. Faer*

                                                     10
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Supervising Deputy Attorney General              By: /s/ Alex Hemmer
Christine Chuang*                                Alex Hemmer*
Supervising Deputy Attorney General              Deputy Solicitor General
Nicholas Green*                                  R. Henry Weaver*
Carly Munson*                                    Assistant Attorney General
Kenneth Sugarman*                                115 S. LaSalle St.
Theodore McCombs*                                Chicago, Illinois 60603
Marie Logan*                                     (312) 814-5526
Deputy Attorneys General                         Alex.Hemmer@ilag.gov
California Attorney General’s Office             Robert.Weaver@ilag.gov
1515 Clay St.
Oakland, CA 94612
(510) 879-3304
Laura.Faer@doj.ca.gov
Christine.Chuang@doj.ca.gov
Nicholas.Green@doj.ca.gov
Carly.Munson@doj.ca.gov
Kenneth.Sugarman@doj.ca.gov
Theodore.McCombs@doj.ca.gov
marie.logan@doj.ca.gov

ANDREA JOY CAMPBELL                              MATTHEW J. PLATKIN
Attorney General for the Commonwealth of         Attorney General for the State of New Jersey
Massachusetts
                                                 By: /s/ Angela Cai
By: /s/ Katherine B. Dirks                       Angela Cai*
Katherine B. Dirks*                              Executive Assistant Attorney General
Deputy Chief, Government Bureau                  Jeremy M. Feigenbaum*
Turner Smith*                                    Solicitor General
Deputy Chief, Energy and Environment             Shankar Duraiswamy*
Bureau                                           Deputy Solicitor General
Anna Lumelsky*                                   25 Market St.
Deputy State Solicitor                           Trenton, NJ 08625
1 Ashburton Pl.                                  (609) 376-3377
Boston, MA 02108                                 Angela.Cai@njoag.gov
(617.963.2277)                                   Jeremy.Feigenbaum@njoag.gov
katherine.dirks@mass.gov                         Shankar.Duraiswamy@njoag.gov
turner.smith@mass.gov
anna.lumelsky@mass.gov

KRISTIN K. MAYES                                 WILLIAM TONG
Attorney General for the State of Arizona        Attorney General for the State of Connecticut

By: /s/ Joshua D. Bendor                         By: /s/ Michael K. Skold
Joshua D. Bendor*                                Michael K. Skold*
Solicitor General                                Solicitor General

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Nathan Arrowsmith*                                 Jill Lacedonia*
2005 North Central Avenue                          165 Capitol Ave
Phoenix, Arizona 85004                             Hartford, CT 06106
(602) 542-3333                                     (860) 808 5020
Joshua.Bendor@azag.gov                             Michael.skold@ct.gov
Nathan.Arroswmith@azag.gov                         Jill.Lacedonia@ct.gov


PHILIP J. WEISER                                   KATHLEEN JENNINGS
Attorney General for the State of Colorado         Attorney General of Delaware

By: /s/ Shannon Stevenson                          By: /s/ Vanessa L. Kassab
Shannon Stevenson*                                 Vanessa L. Kassab*
Solicitor General                                  Deputy Attorney General
Ralph L. Carr Judicial Center                      Delaware Department of Justice
1300 Broadway, 10th Floor                          820 N. French Street
Denver, Colorado 80203                             Wilmington, DE 19801
(720) 508-6000                                     (302) 577-8413
shannon.stevenson@coag.gov                         vanessa.kassab@delaware.gov




BRIAN L. SCHWALB                                   ANNE E. LOPEZ
Attorney General for the District of Columbia      Attorney General for the State of Hawaiʻi

By: /s/ Andrew Mendrala                            By: /s/ Kalikoʻonālani D. Fernandes
Andrew Mendrala*                                   David D. Day*
Assistant Attorney General                         Special Assistant to the Attorney General
Public Advocacy Division                           Kalikoʻonālani D. Fernandes*
Office of the Attorney General for the District    Solicitor General
of Columbia                                        425 Queen Street
400 Sixth Street, NW                               Honolulu, HI 96813
Washington, DC 20001                               (808) 586-1360
(202) 724-9726                                     david.d.day@hawaii.gov
Andrew.Mendrala@dc.gov                             kaliko.d.fernandes@hawaii.gov


AARON M. FREY                                      ANTHONY G. BROWN
Attorney General for the State of Maine            Attorney General for the State of Maryland

By: /s/ Jason Anton                                By: /s/ Adam D. Kirschner
Jason Anton*                                       Adam D. Kirschner*
Assistant Attorney General                         Senior Assistant Attorney General

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Maine Office of the Attorney General             Office of the Attorney General
6 State House Station                            200 Saint Paul Place, 20th Floor
Augusta, ME 04333                                Baltimore, Maryland 21202
207-626-8800                                     410-576-6424
jason.anton@maine.gov                            AKirschner@oag.state.md.us


DANA NESSEL                                      KEITH ELLISON
Attorney General of Michigan                     Attorney General for the State of Minnesota

By: /s/ Linus Banghart-Linn                      By: /s/ Liz Kramer
Linus Banghart-Linn*                             Liz Kramer*
Chief Legal Counsel                              Solicitor General
Neil Giovanatti*                                 445 Minnesota Street, Suite 1400
Assistant Attorney General                       St. Paul, Minnesota, 55101
Michigan Department of Attorney General          (651) 757-1010
525 W. Ottawa St.                                Liz.Kramer@ag.state.mn.us
Lansing, MI 48933
(517) 281-6677
Banghart-LinnL@michigan.gov
GiovanattiN@michigan.gov




AARON D. FORD                                    RAÚL TORREZ
Attorney General of Nevada                       Attorney General for the State of New Mexico

/s/ Heidi Parry Stern                            By: /s/ Anjana Samant
Heidi Parry Stern*                               Anjana Samant*
Solicitor General                                Deputy Counsel
Office of the Nevada Attorney General            NM Department of Justice
1 State of Nevada Way, Ste. 100                  408 Galisteo Street
Las Vegas, NV 89119                              Santa Fe, New Mexico 87501
(702) 486-5708                                   505-270-4332
HStern@ag.nv.gov                                 asamant@nmdoj.gov


JEFF JACKSON                                     DAN RAYFIELD
Attorney General for the State of North          Attorney General for the State of Oregon
Carolina
                                                 By: /s/ Christina Beatty-Walters
By: /s/ Daniel P. Mosteller                      Christina Beatty-Walters*
Daniel P. Mosteller*                             Senior Assistant Attorney General
Associate Deputy Attorney General                100 SW Market Street
PO Box 629                                       Portland, OR 97201

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Raleigh, NC 27602                                (971) 673-1880
919-716-6026                                     Tina.BeattyWalters@doj.oregon.gov
Dmosteller@ncdoj.gov


CHARITY R. CLARK                                 NICHOLAS W. BROWN
Attorney General for the State of Vermont        Attorney General for the State of Washington

By: /s/ Jonathan T. Rose                         By: /s Andrew Hughes
Jonathan T. Rose*                                Andrew Hughes*
Solicitor General                                Assistant Attorney General
109 State Street                                 Leah Brown*
Montpelier, VT 05609                             Assistant Attorney General
(802) 793-1646                                   Office of the Washington State Attorney General
Jonathan.rose@vermont.gov                        800 Fifth Avenue, Suite 2000
                                                 Seattle, WA 98104
                                                 (206) 464-7744
                                                 andrew.hughes@atg.wa.gov
                                                 leah.brown@atg.wa.gov


OFFICE OF THE GOVERNOR ex rel.                   JOSHUA L. KAUL
ANDY BESHEAR                                     Attorney General for the State of Wisconsin
in his official capacity as Governor of the
Commonwealth of Kentucky                         By: /s Aaron J. Bibb
                                                 Aaron J. Bibb*
By: /s/ S. Travis Mayo                           Assistant Attorney General
S. Travis Mayo*                                  Wisconsin Department of Justice
General Counsel                                  17 West Main Street
Taylor Payne*                                    Post Office Box 7857
Chief Deputy General Counsel                     Madison, Wisconsin 53707-7857
Laura C. Tipton*                                 (608) 266-0810
Deputy General Counsel                           BibbAJ@doj.state.wi.us
Office of the Governor
700 Capitol Avenue, Suite 106
Frankfort, KY 40601
(502) 564-2611
travis.mayo@ky.gov
taylor.payne@ky.gov
laurac.tipton@ky.gov



  *Admitted Pro Hac Vice




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